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                             ​UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


KENNETH NASSET                        *
                           CIVIL ACTION NO. 18-9253
                Plaintiff, *
                           *     JUDGE ZAINEY
                           *
VERSUS                     *     MAG. VAN MEERVELD
                           *
UNITED STATES OF AMERICA   *     SEC. A(1)
                           *
                Defendant. *
****************************

     PLAINTIFF’S DESIGNATION OF EXPERTS AND DISCLOSURE OF EXPERT
         TESTIMONY PURSUANT TO RULES 26(a)(2) AND (b)(4) OF THE
                   FEDERAL RULES OF CIVIL PROCEDURE

       Plaintiff, Ken Nasset, hereby designates his expert witnesses in accordance with the

Federal Rules of Civil Procedure and Local Rules of this Court and states that the following

individuals may be called to provide expert testimony on behalf of the Plaintiff:

I.      ​RETAINED EXPERTS

       Mark Levin, MD
       596 Anderson Ave. #302
       Cliffside Park, NJ 07010



       Dr. Levin’s report and curriculum vitae are being served upon Defendant. Dr. Levin may

be called to testify regarding failure to make a diagnosis and negligent prescription of Enbrel

including reasonable inferences arising therein.
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II      ​NON-RETAINED EXPERTS


       Plaintiff also designate the following individuals who are not retained or specially

employed to provide expert testimony but who may be called to offer opinions at trial including

reasonable inferences arising therein.

        1.     Dr. Kalavally Sriharan
               3400 Lebanon Rd,
               Murfreesboro, TN 37129



       Dr. Sriharan is a board certified internist who was treating the plaintiff during the time

frame set forth in the Complaint. Dr. Sriharan may be called to testify regarding the cardiac

symptoms noted in Plaintiff’s records from 2010 including reasonable inferences arising therein.

        2.     Dr. Carla Leuschen
               3400 Lebanon Rd,
               Murfreesboro, TN 37129

       Dr. Leuschen was Plaintiff’s Primary Care Doctor who was treating the plaintiff during

the time frame set forth in the Complaint. Dr. Leuschen may be called to testify regarding the

abnormal EKG and first noting the cardiac symptoms. Dr. Leuschen consulted with Dr. Sriharan

regarding the finding of myocardial ischemia including reasonable inferences arising therein.

        3.     Dr. Manuel Vargas
               10310 The Grove Blvd,
               Baton Rouge, LA 70810

       Dr. Vargas is a Rheumatology Fellow who was treating the plaintiff during the time frame

set forth in the Complaint. Dr. Vargas may be called to testify regarding his advice to take Enbrel

as prescribed by Dr. McGrath and the misdiagnosis of psoriatic arthritis. Dr. Vargas may also

testify that the worsened cardiac dysfunction was likely due to Enbrel including reasonable
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inferences arising therein.



        4.     Dr. ​Chandara Kollipara, DO
               2025 Gravier Street
               Suite 601
               New Orleans, LA 70112


       Dr. Kollipara, DO is a Rheumatologist doctor who was treating the plaintiff during the

time frame set forth in the Complaint. Dr. Kollipara may be called to testify regarding Dr.

Vargas’ advice to take Enbrel as prescribed by Dr. McGrath and the misdiagnosis of psoriatic

arthritis. Dr. Kollipara may also testify that the worsened cardiac dysfunction was likely due to

Enbrel including reasonable inferences arising therein.



         5.  Dr. Ali Ayoub
             Tulane School of Medicine
             1430 Tulane Avenue
             New Orleans, LA 70112
             TULANE UNIVERSITY
       Dr. Ayoub is an ​Cardiology Fellow ​who was treating the plaintiff during the time frame

set forth in the Complaint and may be called to testify regarding the left ventricle ejection of 11%

and atribular fibrillation in in November, 2019 including reasonable inferences arising therein.

        6.     Dr. Kevin Cartwright, MD
               Tulane Cardiology Clinic
               1415 Tulane Ave 4th Fl
               New Orleans, LA 70112

       Dr. Cartwright is a Cardiologist ​who was treating the plaintiff during the time frame set

forth in the Complaint and may be called to testify regarding the noted cardiac symptoms in 2015

which were in the medical records including reasonable inferences arising therein.
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        7.         Marcia Davila, MD
                   VA Medical Center
                   2​ 400 Canal St,
                   New Orleans, LA 70119


        Dr. Davila was Plaintiff’s Primary Care Physician ​who was treating the plaintiff during

the time frame set forth in the Complaint and may be called to testify regarding the exertional

dyspnea and abnormal EKG. Dr. Davila treated the Plaintiff from 2014-2017 including

reasonable inferences arising therein.

        8.         Charde Duncan, RN
                   VA Medical Center
                   2​ 400 Canal St,
                   New Orleans, LA 70119


        Charde Duncan, RN was Plaintiff’s Primary Care Physician Davila’s assistant ​who

assisted in the treating the plaintiff during the time frame set forth in the Complaint and may be

called to testify regarding correspondence from Plaintiff noting dyspnea and other cardiac

symptoms while Dr. Davila treated the Plaintiff from 2014-2017including reasonable inferences

arising therein.



        9.         Meredith Barr, MD
                   1​430 Tulane Ave #8512,
                    New Orleans, LA 70119


        Dr. Barr is an ​Internist ​who was treating the plaintiff during the time frame set forth in the

Complaint and may be called to testify regarding the foot surgery requiring Plaintiff to use a boot

for several months including reasonable inferences arising therein.
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        10.    Dr. Karinka Ayinapudi
               1​430 Tulane Ave #8512,
                New Orleans, LA 70119


       Dr. Ayinapudi is a Cardiologist Fellow who was treating the plaintiff during the time

frame set forth in the Complaint and may be called to testify that Enbrel was stopped, the

misdiagnosis of psoriasis and the left ventricle ejection of 20-20% including reasonable

inferences arising therein.

       11.     Dr. Thierry Lejemtel, MD
               1​430 Tulane Ave #8512,
                New Orleans, LA 70119


       Dr. Lejemtel is a Cardiologist who was treating the plaintiff during the time frame set

forth in the Complaint and may be called to testify that Enbrel was stopped, the misdiagnosis of

psoriasis and the left ventricle ejection of 20-20% including reasonable inferences arising therein.



        12.    Margaret Maxi, MD
               1542 Tulane Ave,
               New Orleans, LA 70112



       Dr. Maxi is an ​Internist ​who was treating the plaintiff during the time frame set forth in

the Complaint and may be called to testify regarding whether Enbrel caused the aggravation of

cardiac symptoms including reasonable inferences arising therein.
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       13.    Meredith Barr, MD
              1542 Tulane Ave,
               New Orleans, LA 70112


       Dr. Barr is an ​Internist ​who was treating the plaintiff during the time frame set forth in the

Complaint and may be called to testify regarding whether Enbrel caused the aggravation of

cardiac symptoms including reasonable inferences arising therein.

       14.    Mark Cassidy, MD
              415 Tulane Ave,
              New Orleans, LA 70112


       Dr. Cassidy is a Cardiologist who was treating the plaintiff during the time frame set forth

in the Complaint and may be called to testify regarding whether Enbrel caused the aggravation of

cardiac symptoms including reasonable inferences arising therein.

       15.    Manmeet Singh, MD
              15790 N Oaks Dr,
              Hammond, LA 70403


       Dr. Singh is an Internist who was treating the plaintiff during the time frame set forth in

the Complaint and may be called to testify regarding whether Enbrel caused the aggravation of

cardiac symptoms including reasonable inferences arising therein.
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                                            Respectfully submitted,

                                             VASQUEZ LAW OFFICE

                                            ​ /s/Jessica Vasquez
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                                            ATTORNEY FOR KEN NASSET




                              CERTIFICATE OF SERVICE

      The undersigned attorney certifies that on February 14, 2020, a copy of Plaintiff’s Expert

Designations was served on the following attorney via e-mail and U.S. Mail first class postage

prepaid as follows:

      Mary Katherine Kaufman
      Assistant United States Attorney
      Eastern District of Louisiana
      650 Poydras Street, Ste. 1600
      New Orleans, LA 70130
                                                   /s/Jessica Vasquez_________
                                                   Jessica M. Vasquez (27124)
